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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    GLOBAL VENTU HOLDING B.V.,                         Case No.: 19cv1018 DMS (DEB)
12                                      Plaintiff,
                                                         ORDER (1) GRANTING IN PART
13    v.                                                 AND DENYING IN PART GLOBAL
                                                         VENTU HOLDING B.V. AND ALEX
14    ZEETOGROUP, LLC, SAMPLES.COM,
                                                         ANDEBEEK’S MOTION TO
      LLC, AND TIBRIO, LLC,
15                                                       DISMISS AND (2) DENYING
                                     Defendants.         GLOBAL VENTU AND ALEX
16
                                                         ANDEBEEK’S MOTION TO STRIKE
17
18    ZEETOGROUP, LLC, SAMPLES.COM,
      LLC, AND TIBRIO, LLC,
19
                                Cross Claimants,
20
      v.
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      GLOBAL VENTU HOLDING B.V.,
22    ALEX ANDEBEEK, an individual, and
23    ROES 1 through 50, inclusive,
                              Cross Defendants.
24
25         This case comes before the Court on Global Ventu and Alex Andebeek’s motion to
26   dismiss Tibrio’s Second Amended Cross-Complaint (“SACC”). This is Global Ventu and
27   Andebeek’s third motion to dismiss directed at Tibrio’s cross-claims. After the first motion
28   to dismiss was filed, Tibrio filed a First Amended Cross-Claim (“FACC”), rendering the

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 1   motion to dismiss moot. Global Ventu and Andebeek then filed a motion to dismiss the
 2   First Amended Cross-Claim, which the Court granted in part and denied in part.
 3   Specifically, the Court granted the motion to dismiss Tibrio’s trade secret claims, the
 4   intentional interference with economic relations claim, and the breach of contract claim
 5   against Andebeek only. As to the trade secret claims, the Court granted the motion because
 6   Tibrio failed to “identify, explain or describe the specific trade secrets at issue in its
 7   claims.” (ECF No. 54 at 5.) The Court granted to the motion to dismiss the intentional
 8   interference claim because Tibrio failed to allege sufficient facts in support. (Id. at 5-6.)
 9   And the Court granted the motion to dismiss the breach of contract claim against Andebeek
10   because Tibrio failed to allege sufficient facts to support the alter ego and conspiracy
11   theories, which served as the basis for alleging that claim against Andebeek. (Id. at 7.)
12   The Court denied the motion as to Tibrio’s UCL claim and its breach of contract claim
13   against Global Ventu. Tibrio then filed the SACC, prompting the present motion.
14         On the trade secret claims, Tibrio has now alleged that its trade secrets include “the
15   strategy behind advertisements, content, and targeting required to run a successful
16   campaign.” (SACC ¶44.) Based on this allegation, Global Ventu and Andebeek’s
17   argument about public facing documents misses the mark. Global Ventu and Andebeek
18   also argue the Court should dismiss, or in the alternative, strike Tibrio’s new allegations
19   about the trade secrets because they contradict the Revenue Share Agreement (“RSA”) and
20   Tibrio’s prior pleadings. However, the RSA fails to define any “trade secrets,” which
21   precludes a finding of any contradiction. As to the prior pleadings, the allegations in the
22   SACC are certainly different from those in the first two cross-claims, but those differences
23   do not amount to a contradiction. And even if there was a contradiction, Global Ventu and
24   Andebeek have failed to cite any authority to support their argument that a contradiction,
25   in itself, warrants either dismissal of the claims or striking of the allegations. Accordingly,
26   the motion to dismiss the trade secret claims is denied, as is the motion to strike these
27   allegations.
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 1         As for the intentional interference claim, here, too, Tibrio has alleged sufficient facts
 2   to withstand the motion to dismiss.       Whereas the FACC included only bare-bones,
 3   conclusory allegations that parroted the elements of the claim, the SACC includes
 4   additional factual allegations in support. (Compare FACC ¶¶56-60 with SACC ¶¶57-65.)
 5   The Court also rejects Global Ventu and Andebeek’s argument that the intentional
 6   interference claim is preempted by the California Uniform Trade Secrets Act (“CUTSA”).
 7   Contrary to their argument, the intentional interference claim is not dependent on the trade
 8   secrets identified by Tibrio. Rather, the intentional interference claim appears to be based
 9   on those public facing documents that are outside the realm of trade secret protection. (See
10   id. ¶61) (describing Global Ventu and Andebeek’s use of Tibrio’s “header image, copy,
11   and product images” to create the competing Facebook account). Accordingly, the motion
12   to dismiss the intentional interference claim is denied.
13         Turning to the UCL claim, Global Ventu and Andebeek assert Tibrio has added new
14   allegations to that claim, which demonstrate the claim is preempted by the CUTSA.
15   However, the Court disagrees. The body of Tibrio’s UCL claim is the same as it was in
16   the FACC, and on those allegations, the Court has already rejected Global Ventu and
17   Andebeek’s preemption argument. Accordingly, the motion to dismiss this claim is again
18   denied.
19         The only remaining argument is that the claims against Andebeek should be
20   dismissed because Tibrio failed to allege sufficient facts to support its alter ego and
21   conspiracy theories. The Court agreed with this argument in its previous order, and granted
22   Global Ventu and Andebeek’s motion with respect to these theories. In the SACC, the
23   only additional allegation on the alter ego and conspiracy theories is that Global Ventu and
24   Andebeek conspired to “disrupt relationships with other businesses, and breach the
25   executed agreements.” (Id. ¶10.) This allegation does not address the pleading deficiencies
26   set out in the Court’s previous order, and thus does not save these theories from dismissal.
27   Accordingly, the Court grants the motion to dismiss these theories, and consistent with the
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 1   Court’s previous order, dismisses these theories with prejudice and without further leave
 2   to amend.
 3         For the reasons set out above, Global Ventu and Andebeek’s motion to dismiss is
 4   granted in part and denied in part. Specifically, the motion is granted as to Tibrio’s theories
 5   of conspiracy and alter ego, and denied as to the remainder of the substantive claims. The
 6   motion to strike is also denied.
 7         IT IS SO ORDERED.
 8   Dated: September 18, 2020
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